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                                                                         Thursday, 06 June, 2019 05:23:28 PM
                                                                                Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS


SPEECH FIRST, INC.,
                                       Plaintiff,


v.                                                      Case No. 19-cv-3142


TIMOTHY L. KILLEEN, et al.,
                                    Defendants.




               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 65, Plaintiff Speech First, Inc. hereby moves the

Court to issue a preliminary injunction enjoining Defendants Timothy L. Killeen, et al., from: (1)

enforcing the University’s prior restraint on speech concerning non-campus elections; (2) using the

Bias Assessment and Response Team, University Housing, or any other University officials to

investigate, log, threaten, or punish students (including informal punishments) for bias-motivated

incidents; and (3) issuing “No Contact Directives” without clear, objective procedures that ensure the

directives are issued consistently with the First Amendment.

        Grounds for this motion are fully set forth in Plaintiff’s Memorandum of Law and

accompanying declarations and exhibits.

        Pursuant to Local Rule 7.1, Plaintiff respectfully requests oral argument due to the important

constitutional rights at stake and the complexities of these issues.




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                                          Respectfully submitted,

Dated: June 6, 2019                        /s/ J. Michael Connolly tn

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                                 CERTIFICATE OF SERVICE

       I certify that on June 6, 2019, I electronically filed this motion, the memorandum, and the

accompanying declarations and exhibits with the Clerk of Court using the CM/ECF system. I also

certify that these documents were mailed overnight to:

The Office of University Counsel
258 Henry Administration Building
506 S. Wright Street
Urbana, Illinois 61801



                                                       /s/ J. Michael Connolly
                                                     J. Michael Connolly




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